    Case: 1:12-cv-03288 Document #: 68 Filed: 08/02/13 Page 1 of 4 PageID #:1143




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ALEX D. MOGLIA, not individually but as                )
Chapter 7 TRUSTEE of the Bankruptcy                    )
Estate of Phillip Negron, PHILLIP NEGRON,              )
                                                       )   Case No. 12 CV 3288
                Plaintiff,                             )
                                                       )   Honorable Harry D. Leinenweber
        v.                                             )
                                                       )
VILLAGE OF MELROSE PARK, JOHN                          )
SCATCHELL, Ind. Cap., SAM PITASSI,                     )
Ind. Cap.,                                             )
                                                       )
                Defendants.                            )

                     DEFENDANTS’ MOTION FOR A SEALING ORDER
                       AND TO FILE EXHIBITS CONVENTIONALLY

        NOW COME Defendants, VILLAGE OF MELROSE PARK, JOHN SCATCHELL and

SAM PITASSI, by and through their attorneys, MICHAEL D. BERSANI and ANTHONY G.

BECKNEK of HERVAS, CONDON & BERSANI, P.C., and pursuant to Local Rule 26.2 and

5.8, move this court for leave to file two exhibits to their Reply in support of their Motion for

Summary Judgment conventionally and for leave to file a sealing order with regard to the exhibits

previously identified as confidential.

        1.      Defendants have filed a Reply in support of their Motion for Summary Judgment,

and a response to Plaintiff’s Rule 56 Statement of Additional Facts.

        2.      In support of the latter, Defendants have identified an investigative report (Exhibit

A) and a CD (Exhibit B) that is marked CONFIDENTIAL pursuant to the Agreed Confidentiality

Order entered by this Court on November 27, 2012 (d/e 22).
    Case: 1:12-cv-03288 Document #: 68 Filed: 08/02/13 Page 2 of 4 PageID #:1144




       3.      Pursuant to the Agreed Confidentiality Order, any party wishing to file a document

designated as Confidential Information in connection with a motion, brief or other submission to

the Court must comply with LR 26.2 (d/e 22).

       4.      Under Local Rule 26.2, the court may for good cause shown enter an order

directing that one or more documents be filed under seal.

       5.      Under the local rule 26.2 (d), documents requiring the court’s review shall be

submitted to chambers in camera in a sealed envelope bearing the caption of the case, case

number, the title of the motion or response to which the submitted confidential information

pertains, and the name and telephone number of counsel submitting the documents. The

producing party shall maintain the original documents intact for any further review. A redacted

copy of all documents containing confidential information shall be filed with the clerk of court for

the record.

       6.      Defendants have filed this motion for sealing order prior to the filing of a

confidential exhibit (Exhibit A, a CD containing a surveillance video of the incident regarding

Plaintiff’s allegation that Officer Michael Lichter struck a pedestrian, and the investigative report

by the Melrose Park Police Department concerning that incident) under seal and have noticed the

motion for presentment.




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    Case: 1:12-cv-03288 Document #: 68 Filed: 08/02/13 Page 3 of 4 PageID #:1145




       WHEREFORE, Defendants VILLAGE OF MELROSE PARK, JOHN SCATCHELL and

SAM PITASSI respectfully request that they be given leave to file Exhibits A and B marked

confidential under seal to this Court for its use in consideration of Defendants’ Motion for

Summary Judgment.

                                                  Respectfully submitted,

                                                  s/Michael D. Bersani
                                                  MICHAEL D. BERSANI, Atty No. 06200897
                                                  ANTHONY BECKNEK, Atty No. 06305451
                                                  Attorneys for Defendants
                                                  HERVAS, CONDON & BERSANI, P.C.
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    Case: 1:12-cv-03288 Document #: 68 Filed: 08/02/13 Page 4 of 4 PageID #:1146




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ALEX D. MOGLIA, not individually but as              )
Chapter 7 TRUSTEE of the Bankruptcy                  )
Estate of Phillip Negron, PHILLIP NEGRON,            )
                                                     )   Case No. 12 CV 3288
               Plaintiff,                            )
                                                     )    Honorable Harry D. Leinenweber
       v.                                            )
                                                     )
VILLAGE OF MELROSE PARK, JOHN                        )
SCATCHELL, Ind. Cap., SAM PITASSI,                   )
Ind. Cap.,                                           )
                                                     )
               Defendants.                           )

                                 CERTIFICATE OF SERVICE

         I hereby certify that on August 2, 2013, I electronically filed the foregoing Defendants’
Motion for Leave to File Exhibits Conventionally with the Clerk of the Northern District of
Illinois, Eastern Division, using the CM/ECF system, which will send notification of such filing to
the following CM/ECF participants:

TO:    Christopher C. Cooper, Law Office of Christopher Cooper, 500 N. Michigan Ave., Suite
       1514, Chicago, IL 60611.

       Mr. David Sigale, Law Firm of David G. Sigale, P.C., 739 Roosevelt Road, Suite 304,
       Glen Ellyn, IL 60137.

       Joshua Greene, Archer Bay, P.A., 1500 Eisenhower Lane, Suite 800, Lisle, IL 60532.

       Elizabeth Bates, Thomas Springer, Springer Brown Covey Gaertner & Davis LLC, 400 S.
       County Farm Road, Suite 330, Wheaton, IL 60187.

                                              s/ Michael D. Bersani
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                                              ANTHONY G. BECKNEK, Atty No. 06305451
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